   Case: 2:17-cr-00192-MHW Doc #: 23 Filed: 01/09/18 Page: 1 of 5 PAGEID #: 51



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                           :
                                                   :          Case No: 2:17-CR-192
                                                   :
    v.                                             :         JUDGE MICHAEL H. WATSON
                                                   :
GREGORY R. LEE                                     :


              GOVERNMENT'S MEMORANDUM IN AID OF SENTENCING

         The United States, by and through undersigned counsel, hereby submits its Memorandum

in Aid of Sentencing, as ordered by the Court.

                                         BACKGROUND

         On September 14, 2017, the defendant, Gregory R. Lee, entered a plea of guilty pursuant

to a Rule 11(c)(1)(C) plea agreement, to an Information that charged him with using a minor to

engage in sexually explicit activity for the purpose of producing a visual depiction of such

activity, in violation of 18 U.S.C. § 2251(a). Pursuant to the plea agreement, the parties have

agreed that a term of incarceration of 262 months followed by at least 20 years of Supervised

Release is the appropriate sentence for the defendant’s offense.

         The parties agreed to a factual statement of the offense conduct in support of the

defendant’s guilty plea, which detailed the defendant’s involvement with a 15-year-old female

who was a student of the defendant’s. The defendant took and instructed the girl to take

numerous photographs that focused on the child’s nude genitalia or depicted the girl engaged in

masturbation. He also engaged in sexual acts with the child on numerous occasions. Finally, the

parties agreed that the defendant had previously received sexually suggestive and/or explicit

photographs of another minor female student.
    Case: 2:17-cr-00192-MHW Doc #: 23 Filed: 01/09/18 Page: 2 of 5 PAGEID #: 52



       The final Presentence Investigation Report (“PSR”) was disclosed by the Probation

Office on November 30, 2017, and the defendant filed a sentencing memorandum on January 4,

2018. Sentencing in this matter is scheduled for January 18, 2018.

       PRESENTENCE INVESTIGATION REPORT AND RECOMMENDATION

       As calculated in the PSR, the advisory sentencing guideline range for the defendant’s

offense is 360 months, based on a total offense level of 42 and a criminal history category I.

Neither party has raised any objection to this calculation. The probation officer has noted several

factors that the Court may consider in determining whether a deviation from the guideline range

is appropriate, and has recommended the 262-month sentence agreed to by the parties, followed

by a lifetime term of supervised release and a within-guidelines fine of $50,000.

           SENTENCING FRAMEWORK AND GUIDELINE CALCULATION

       After Booker v. United States, 543 U.S. 220 (2005), district courts are to engage in a

three-step sentencing procedure. Courts are first to determine the applicable guidelines range,

then consider whether a departure from that range is appropriate, and finally, consider the

applicable guidelines range—along with all of the factors listed in 18 U.S.C. § 3553(a)—to

determine what sentence to impose. Gall v. United States, 552 U.S. 38, 49–50 (2007); Rita v.

United States, 551 U.S. 338, 351 (2007). The central command to district courts in imposing a

sentence is to fashion one that is sufficient, but not greater than necessary, to meet the goals set

forth in 18 U.S.C. § 3553(a).

       Section 3553(a) further delineates seven factors the Court must consider in fashioning an

appropriate sentence: (1) the nature and circumstances of the offense/history and characteristics

of the defendant; (2) the statutory purposes of sentencing; (3) the kinds of sentences available;

(4) the kinds of sentences and sentencing ranges as set forth in the Sentencing Guidelines; (5)



                                                  2
    Case: 2:17-cr-00192-MHW Doc #: 23 Filed: 01/09/18 Page: 3 of 5 PAGEID #: 53



Sentencing Guidelines policy statements; (6) the need to avoid unwarranted sentencing

disparities; and (7) the need to provide restitution to any victims of the offense.

                ANALYSIS AND RECOMMENDATION OF THE UNITED STATES

   I.       Calculation and Possible Departure

         In this case, the parties are in agreement that the Probation Officer has correctly

calculated that advisory guideline range applicable to the defendant’s offense. The parties are

further in agreement that there are no bases under the guidelines for departure from the

applicable guideline range.

   II.      Section 3553(a) Factors

         Notwithstanding the Sixth Circuit’s statement in United States v. Perez, 464 Fed. Appx.

467, 469 (6th Cir. 2012), that a defendant who enters a Rule 11(c)(1)(C) plea agreement waives

the right to be sentenced “pursuant to the advisory guideline range and the § 3553(a) factors”, the

government submits that consideration of those factors supports imposition of the sentence

agreed to by the parties.

         The defendant’s offense is undoubtedly serious and involves a significant violation of the

trust placed in him as a teacher. The defendant engaged in an ongoing sexual and romantic

relationship with a student who was more than 30 years his junior and who could not possibly

comprehend the ramifications of the relationship in which she was engaging. While she may

have fully reciprocated – and perhaps even initiated – the “flirtatious” interactions that led to the

defendant’s offense, she was a child. As an adult, the defendant knew full well where his

involvement with this child was headed, and it was his duty to prevent it. He failed to do so. His

history of inappropriate interactions with other students indicates that he did not stop this

damaging and illegal liaison because he has an long-standing sexual interest in minor females.



                                                   3
    Case: 2:17-cr-00192-MHW Doc #: 23 Filed: 01/09/18 Page: 4 of 5 PAGEID #: 54



       Thus, the crime that the defendant has committed calls for a lengthy term of

incarceration. As pointed out by the defendant however, the sentence agreed upon by the parties

will result in the defendant being at least 71 years of age at the time he is released, and at least 91

years old before he is released from Court supervision. The defendant further has a long history

of being a dedicated employee, and although he has repeatedly crossed appropriate boundaries

with his students, he has also retained the support of several of his prior students. He also has

the love and support of his family, which the government believes will help him reintegrate into

society upon his release. All of these factors support the downward deviation represented by the

parties’ agreed sentence.

       In light of all of these considerations, the government submits that a sentence of 262

months of incarceration would satisfy the statutory purposes of sentencing, in that it would

protect the public, provide adequate deterrence, and appropriately reflect the seriousness of the

defendant’s particular offense. Consideration of the specific facts of the case and this

defendant’s individual background and characteristics also indicate that such a sentence would

not create unwarranted sentencing disparities.

       Finally, the government concurs with the Probation Officer’s finding that the defendant

does have the ability to pay a fine. However, in light of the issues discussed in the defendant’s

sentencing memorandum, the government suggests that a fine below the guideline range is more

appropriate.




                                                  4
   Case: 2:17-cr-00192-MHW Doc #: 23 Filed: 01/09/18 Page: 5 of 5 PAGEID #: 55



                                        CONCLUSION

       For the foregoing reasons, the United States respectfully requests that the Court accept

the parties stipulated sentencing agreement and impose a sentence of 262 months of

incarceration, followed by at least 20 years of Supervised Release.


                                                    Respectfully submitted,

                                                    BENJAMIN C. GLASSMAN
                                                    United States Attorney

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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served via electronically this
9th day of January, 2018, upon Steven S. Nolder, counsel for the defendant.



                                                    s/Heather A. Hill
                                                    HEATHER A. HILL (6291633)
                                                    Assistant United States Attorney




                                                5
